OPINION — AG — FAILURE TO OBEY A "SUMMONS" (SUBPOENA) PROPERLY AND  LAWFULLY ISSUED PURSUANT TO 47 O.S.H. 363, IS A MISDEMEANOR, AND THE PUNISHMENT UPON CONVICTION IS A TERM OF IMPRISONMENT IN THE COUNTY JAIL NOT TO EXCEED ONE (1) YEAR OR BY A FINE NOT TO EXCEED $500, OR BY BOTH SUCH FINE AND PUNISHMENT. JURISDICTION OF SUCH A CASE IS IN THE COUNTY COURT, AND, WHERE APPLICABLE, THE COURT OF COMMON PLEAS AND SUPERIOR COURT. CITE: 21 O.S.H. 10, 28 O.S.H. 81, 47 O.S.H. 363, 47 O.S.H. 365 (JAMES GARRETT)